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 1
                            IN THE UNITED STATES DISTRICT COURT
 2
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 3
 4   UNITED STATE OF AMERICA,    )                   Case No.: 11-cr-504-WBS
                                  )
 5                  Plaintiff,    )                  ORDER
                                  )
 6   v.                           )
                                  )
 7   JEWEL HINKLES,               )
          a.k.a. CYDNEY SANCHEZ   )
 8                  Defendant.    )
     _____________________________)
 9
10
             Having reviewed the parties’ stipulation to continue the
11
     revocation of release hearing as to Defendant Jewel Hinkles, no
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     objection from the government, and good cause appearing, the
13
     hearing for revocation of release as to Defendant Jewel Hinkles,
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     currently scheduled for November 15, 2012, is hereby continued to
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     a new date of December 6, 2012, at 2:00 p.m., before the Duty
16
     Magistrate Judge.
17
             IT IS SO ORDERED.
18
     DATED: November 9, 2012.
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23   DAD1.crim
     hinkles0504.stipord.cont.revocation
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                                                   1
                                           ORDER [PROPOSED]
